                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA




PATHFINDER AVIATION, INC.,                )
                                          )
                          Plaintiff,      )
                                          )
            vs.                           )
                                          )
XTO ENERGY INC. and SCOTT GRIFFITH,       )
                                          )               No. 3:15-cv-0200-HRH
                          Defendants.     )
__________________________________________)



                                        ORDER

                       Motion to Dismiss; Motion for Leave to Amend

       Defendants move to dismiss certain counts of plaintiff’s complaint.1 This motion is

opposed,2 but in the event that the court dismisses any counts, plaintiff moves for leave to

amend.3 The motion for leave to amend is opposed.4 Oral argument was not requested

and is not deemed necessary.




       1
           Docket No. 10.
       2
           Docket No. 14.
       3
           Docket No. 12.
       4
           Docket No. 18.

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                                         Background

       Plaintiff is Pathfinder Aviation, Inc. Defendants are XTO Energy Inc. and Scott

Griffith.

       Plaintiff “is a Homer-based international provider of helicopter services and

logistical support, providing services to the oil and gas, mining and construction

industries.”5 Michael Fell is the owner and president of plaintiff.6

       “XTO is a subsidiary of Exxon Mobil. Its Alaska Operations focused on oil

production in the Cook Inlet....”7 During the time at issue in this case, “Griffith served as

the production superintendent for the Alaska Operations division of XTO.”8

       Plaintiff alleges that “[i]n June 2014, Griffith contacted Fell and stated that he wished

to discuss helicopter support for XTO’s Alaska Operations due to XTO’s dissatisfaction

with its current provider.”9 Plaintiff further alleges that in January 2015, “Fell and Griffith

together targeted a specific helicopter airframe that met XTO’s particular contract




       5
           Complaint at 2, ¶ 7, Exhibit A, Notice of Removal, Docket No. 1.
       6
           Id.
       7
           Id. at ¶ 6.
       8
           Id.
       9
           Id. at ¶ 8.

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requirements: an Airbus EC135P2+.”10 “Thereafter, XTO’s aviation management team met

with Pathfinder to perform a ‘gap analysis’ of Pathfinder’s assets and services, after which

XTO determined that Pathfinder qualified as an acceptable vendor.”11

       Plaintiff alleges that “[o]n February 25, 2015, Griffith sent an email to Fell which

stated, ‘per our conversation, XTO Energy has made the decision to go with Pathfinder

Aviation as our helicopter support contractor for our Alaska Operations.”12 In the same

email, Griffith advised Fell that he would begin drafting a contract that would include

terms that the parties had discussed, including the length of the contract (10 years) and the

price plaintiff would be paid for its services ($176,636 per month, plus $1,100 per flight

hour).13 Plaintiff alleges that “[t]he email also confirmed that XTO Energy planned to enter

into an additional agreement with Pathfinder whereby if the primary helicopter – the

Airbus EC135P2+ – was taken off the XTO contract in support of other aviation clientele,

XTO would pay for the use of a twin-engine Bell 212 helicopter for backup, up to the first

12 months of the contract or less.”14




       10
            Id. at ¶ 9.
       11
            Id.
       12
            Id. at 3, ¶ 11.
       13
            Id. at ¶¶ 11-12.
       14
            Id. at 4, ¶ 14.

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       Plaintiff alleges that “[a]fter the February confirmation email and over the course

of spring 2015, [it] worked to acquire the additional aircraft and to arrange for [the]

modifications to conform to XTO’s operation guidelines.”15 Plaintiff further alleges that it

“purchased ground support equipment, helicopter support equipment, and devoted

hundreds of labor hours into ensuring that [its] personnel and equipment complied with

XTO’s requirements and needs.”16 Plaintiff alleges that it expended over $400,000 on this

equipment and preliminary work.17 Plaintiff alleges that “[o]ver the course of spring 2015,

Fell and Griffith worked together on minor remaining details of the contract between XTO

and Pathfinder.”18

       Plaintiff alleges that it “acquired two helicopters for the XTO contract: a Bell 212

purchased for over $1.2 million, and an Airbus EC135P2+ purchased for over $3.5

million.”19 Plaintiff further alleges that “[d]ue to the significant cost, Fell contacted Griffith

prior to purchasing the Airbus to again confirm the agreement between the two parties.




       15
            Id. at ¶ 16.
       16
            Id.
       17
            Id.
       18
            Id. at ¶ 17.
       19
            Id. at 5, ¶ 18.

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Griffith advised Fell that the contract between the two parties was good, and instructed Fell

to proceed with the purchase of the aircraft.”20

       Plaintiff alleges that “[i]n July 2015, within a week of [its] purchase of the Airbus

EC135P2+, XTO was acquired by Hilcorp Alaska, LLC. Griffith called Fell and told him

that XTO would not be going forward with its contract with Pathfinder.”21 Plaintiff alleges

that “[a]fter this communication, Fell attempted to contact [d]efendants regarding the

contract, to no avail.”22 Plaintiff alleges that “[s]ince XTO’s notification, and in order to

avoid a monthly payment in excess of $40,000 on the helicopters, Pathfinder sold the Bell

212 helicopter at a loss of over $140,000 and sold the Airbus EC135P2+ at a loss of over $1

million.”23

       On September 15, 2015, plaintiff commenced this action. In its complaint, plaintiff

asserts six counts against defendants: 1) breach of contract, 2) breach of quasi-contract and

quantum meruit, 3) promissory estoppel, 4) breach of the covenant of good faith and fair

dealing, 5) misrepresentation, and 6) violation of Alaska Unfair Trade Practices Act.




       20
            Id.
       21
            Id. at ¶ 19.
       22
            Id. at ¶ 20.
       23
            Id.

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       Pursuant to Rule 12(b)(6), Federal Rules of Civil Procedure, defendants now move

to dismiss Counts I-IV against Griffith, Count IV against XTO, and Counts V and VI against

both defendants and to strike plaintiff’s prayer for punitive damages. Plaintiff moves for

leave to amend as to any counts that the court dismisses.

                                         Discussion

       “Rule 12(b)(6) is read in conjunction with Rule 8(a), which requires not only ‘fair

notice of the nature of the claim, but also grounds on which the claim rests.” Zixiang Li v.

Kerry, 710 F.3d 995, 998 (9th Cir. 2013) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

556 n.3 (2007)). “To survive a Rule 12(b)(6) motion to dismiss, a ‘plaintiff must allege

enough facts to state a claim to relief that is plausible on its face.’” Turner v. City and

County of San Francisco, 788 F.3d 1206, 1210 (9th Cir. 2015) (quoting Lazy Y Ranch Ltd. v.

Behrens, 546 F.3d 580, 588 (9th Cir. 2008)). “In assessing whether a party has stated a claim

upon which relief can be granted, a court must take all allegations of material fact as true

and construe them in the light most favorable to the nonmoving party; but ‘conclusory

allegations of law and unwarranted inferences are insufficient to avoid a Rule 12(b)(6)

dismissal.’” Id. (quoting Cousins v. Lockyer, 568 F.3d 1063, 1067 (9th Cir. 2009)). “‘A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.’” Id.

(quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “This standard ‘asks for more than a



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sheer possibility that a defendant has acted unlawfully,’ but it ‘is not akin to a probability

requirement.’” Id. (quoting Iqbal, 556 U.S. at 678). When ruling on a Rule 12(b)(6) motion,

the court generally does not “consider any material beyond the pleadings....” Johnson v.

Federal Home Loan Mortg. Corp., 793 F.3d 1005, 1007 (9th Cir. 2015). Thus, in deciding

defendants’ Rule 12(b)(6) motion, the court has not considered the exhibits and the Fell

affidavit that plaintiff has submitted. “Although a district court should grant the plaintiff

leave to amend if the complaint can possibly be cured by additional factual allegations,

[d]ismissal without leave to amend is proper if it is clear that the complaint could not be

saved by amendment[.]” Zixiang Li, 710 F.3d at 999 (internal citations omitted).

       Counts I-IV against Griffith

       Contrary to defendants’ contention, plaintiff has not agreed that the contract-based

claims in Counts I-IV against Griffith should be dismissed. Plaintiff does agree with

defendants that “[a]s a general principle an employee ‘cannot be held liable for the breach

of a contract between the employer and another party.’” Beal v. McGuire, 216 P.3d 1154,

1175 (Alaska 2009) (quoting Rathke v. Corr. Corp. of Amer., Inc., 153 P.3d 303, 312 (Alaska

2007)). But, an employee may be liable for breach of contract claims if he was not acting

within the scope of his employment.

       Plaintiff has not expressly alleged that Griffith was acting outside the scope of his

employment. Rather, plaintiff has alleged that “Griffith was employed by XTO, and



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therefore, all the acts and omissions of Griffith ... will be imputed to XTO”24 and that

Griffith was employed “as the production superintendent for the Alaska Operations

division of XTO.”25 Plaintiff, however, argues that it can be inferred from its complaint that

it was alleging that Griffith was not acting within the scope of his employment because

otherwise it would not have asserted contract-based claims against Griffith.

       This is not a reasonable inference to make from plaintiff’s complaint. All of the

allegations in plaintiff’s complaint and the inferences that can be drawn from them are that

Griffith was acting within the course and scope of his employment. Thus, plaintiff’s

contract-based claims in Counts I-IV against Griffith are dismissed.

       Plaintiff requests leave to amend these claims because although it “believes that

Griffith was acting in the course and scope of his employment with [XTO] at all relevant

times, ... until discovery takes place[26], Pathfinder is unable to conclusively determine the


       24
            Complaint at 1, ¶ 3, Exhibit A, Notice of Removal, Docket No. 1.
       25
            Id. at 2, ¶ 6.
       26
         Plaintiff attached Early Rule 34 discovery requests to its motion for leave to amend,
which was filed on November 25, 2015, even though the rule permitting such requests did
not go into effect until December 1, 2015. Plaintiff seems to suggest that defendants filed
the instant motion to dismiss to avoid having to respond to these discovery requests or that
defendants have failed to respond to these requests. As for the first suggestion, defendants
were entitled to file a Rule 12(b)(6) motion prior to filing their answer and plaintiff’s
repeated assertion that there was something improper about defendants doing so is
meritless. As for the second suggestion, an Early Rule 34 “request is considered to have
been served at the first Rule 26(f) conference.” Fed. R. Civ. P. 26(d)(2)(B). Thus, plaintiff’s
                                                                                 (continued...)

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truth of this assertion.”27 Plaintiff seeks to add a sentence to paragraph 3 of its complaint

so that it reads as follows:

                 [Griffith] is and was at all times relevant hereto a resident of,
                 and domiciled in, the State of Alaska.[28] On information and
                 belief, Griffith was employed by XTO, and therefore, all acts
                 and omissions of Griffith, as described herein, will be imputed
                 to XTO. In the alternative, Griffith was not acting in the course
                 and scope of his employment with [XTO] and therefore he will
                 be personally liable for all such acts and omissions.[29]

       Although plaintiff seems to suggest that it will not have any factual support for this

alternative allegation until discovery takes place, it offers an August 14, 2015 correspon-

dence in which it contends that XTO took the position that Griffith was not acting with the

course and scope of his employment. Plaintiff contends that the court can consider the

exhibits and the Fell affidavit it has submitted when deciding whether to allow amend-

ment. Plaintiff cites to no authority to support this contention and there is authority to the

contrary. See, e.g., Gross v. Hanover Ins. Co., Case No. 91 Civ. 0079 (PKL), 1991 WL




       26
        (...continued)
Early Rule 34 discovery requests have not yet been “served” on defendants and defendants
have no current obligation to respond to these requests.
       27
            Opposition to Motion to Dismiss at 14, Docket No. 14.
       28
         Griffith had moved to Oklahoma by the time plaintiff filed its complaint. Affidavit
of Scott A. Griffith, Exhibit B, Errata to Notice of Removal, Docket No. 3.
       29
      Memorandum in Support of Cross-Motion for Permission to File an Amended
Complaint at 16, Docket No. 13.

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102401, at *1 n.1. (S.D.N.Y. 1991) (“Defendant’s submission of four affidavits and numerous

exhibits in opposition to plaintiff's motion to amend, as well as plaintiff's less voluminous

reply affidavit and exhibits, will not be considered, as the instant motion is one to amend

the complaint, not one for summary judgment”). The court will not consider plaintiff’s

exhibits and affidavit when deciding whether plaintiff may amend its claims.

       Plaintiff may not amend as to Counts I-IV against Griffith. In defendants’ response

to plaintiff’s motion to amend, “XTO confirms ... that Griffith was acting in the course and

scope of his employment with XTO at all times relevant to the events alleged in [p]laintiff’s

complaint.”30 In the Ninth Circuit, “statements of fact contained in a brief may be

considered admissions of the party in the discretion of the district court.” Amer. Title Ins.

Co. v. Lacelaw Corp., 861 F.2d 224, 227 (9th Cir. 1988). The court will exercise its discretion

and consider this statement a judicial admission, primarily because even plaintiff seems to

believe that Griffith was acting within the scope and course of his employment. Because

XTO has admitted that Griffith was acting within the course and scope of his employment

at all relevant times, plaintiff could never state plausible contract-based claims against

Griffith. Counts I-IV against Griffith are dismissed without leave to amend.




       30
            Defendants’ Response to Motion to File Amended Complaint at 11, Docket No. 18.


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       Count IV against XTO

       In Count IV, plaintiff alleges a breach of the implied covenant of good faith and fair

dealing claim. “Every contract in Alaska includes an implied covenant of good faith and

fair dealing.” Smith v. Anchorage School Dist., 240 P.3d 834, 844 (Alaska 2010). “The

covenant has both a subjective and an objective component.’” Id. (quoting Mitchell v. Teck

Cominco Alaska, Inc., 193 P.3d 751, 761(Alaska 2008)). In order to show that a defendant

breached the objective component of the implied covenant of good faith and fair dealing,

a plaintiff must prove that a reasonable person would find that the defendant acted in

manner that was unfair or improper. Becker v. Fred Meyer Stores, Inc., 335 P.3d 1110, 1116

(Alaska 2014). In order to show that a defendant subjectively breached the implied

covenant of good faith and fair dealing, a plaintiff must prove that the defendant’s conduct

was “‘actually ... motivated by an improper or impermissible objective’ —that the [conduct]

‘was actually [done] in bad faith.’” Crowley v. State, Dept. of Health & Social Services, 253

P.3d 1226, 1230 (Alaska 2011) (quoting Era Aviation, Inc. v. Seekins, 973 P.2d 1137, 1141

(Alaska 1999)).

       Plaintiff alleges that XTO breached the implied covenant because its “refusal to

honor [XTO’s] contract with Pathfinder unfairly deprived Pathfinder of the benefit of its

contract” and because XTO refused “to engage in reasonable efforts to negotiate the




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termination of the contract....”31 Plaintiff argues that it has adequately stated a claim for

breach of the implied covenant because it can be inferred from these and other allegations

that 1) XTO knew for weeks, if not months, that it was likely to sell its Alaskan operations

to Hilcorp and yet XTO said nothing to Pathfinder, 2) that XTO planned all along to breach

the contract with Pathfinder but still allowed Pathfinder to incur considerable expense, 3)

that XTO did so as a means to try to put Pathfinder out of business, 4) that XTO used

Exxon’s economic strength as a weapon against Pathfinder seeking to maliciously cause

injury, and 5) that XTO intentionally delayed signing the contract in order to disclaim any

responsibility to keep the promises made to Pathfinder. Plaintiff argues that these are

reasonable inferences that can be drawn from the timing of the events, XTO’s unwillingness

to sign the written contract, and XTO’s refusal to communicate with plaintiff after XTO was

acquired by Hilcorp.

       The inferences plaintiff is asking the court to make are unreasonable. There is

nothing in plaintiff’s complaint that suggests that XTO knew for months that it was going

to be sold to Hilcorp,32 that XTO planned all along to breach the alleged contract, that XTO

maliciously intended to injure plaintiff or was trying to put plaintiff out of business, or that


       31
            Complaint at 8, ¶¶ 38-39, Exhibit A, Notice of Removal, Docket No. 1.
       32
         In its reply in support of its motion to amend, plaintiff contends that it is
undisputed that XTO was in negotiations with Hilcorp for months, but as explained above,
the court will not consider the exhibits and affidavit plaintiff has submitted in deciding
either the motion to dismiss or the motion for leave to amend.

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XTO intentionally delayed signing the contract. Plaintiff has not alleged sufficient factual

support to make its claim of bad faith against XTO plausible. All it has alleged is that XTO

breached the alleged contract and then refused to communicate with plaintiff. Because

plaintiff has not stated a plausible breach of the implied covenant of good faith and fair

dealing claim against XTO, this claim is dismissed.

       Plaintiff requests leave to amend its breach of the implied covenant of good faith and

fair dealing claim by adding the following paragraph to its complaint:

              Defendants’ conduct in violation of the implied-in-law cove-
              nant of good faith and fair dealing, includes, but is not limited
              to the following: (a) [XTO] and Griffith knew for weeks, if not
              months, that it was likely to sell its Alaskan operations to
              Hilcorp and yet said nothing to Pathfinder; (b) [XTO] and
              Griffith planned all along to breach the contract with Path-
              finder, but still allowed Pathfinder to incur considerable
              expense; (c) [XTO] and Griffith allowed Pathfinder to incur
              enormous expenses knowing that it would not honor its
              contract, as a means to try to put Pathfinder out of business; (d)
              [XTO] and Griffith used Exxon’s economic strength as a
              weapon against Pathfinder seeking to maliciously cause injury;
              and (e) [XTO] and Griffith intentionally delayed signing the
              written contract as a means to disclaim any responsibility to
              keep the promises made to Pathfinder.[33]

       Plaintiff may amend its claim of bad faith against XTO, although the foregoing

proposed amendment is not sufficient. Plaintiff is reminded that it may only amend its

claim of bad faith as to XTO, that any such claim against Griffith has been dismissed


       33
      Memorandum in Support of Cross-Motion for Permission to File an Amended
Complaint at 18-19, Docket No. 13.

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without leave to amend. Plaintiff is also reminded that it must allege sufficient factual

support for any of the claims it asserts. It is the court’s current perception that plaintiff

may be able to allege sufficient factual support for its contention that XTO knew for months

that it was likely to be acquired by Hilcorp but said nothing to plaintiff and for its

contention that XTO intentionally delayed signing the written contract because of the

possibility of the Hilcorp acquisition. But, the court has doubts that plaintiff could allege

sufficient factual support for its other contentions of bad faith on the part of XTO.

       Count V

       In Count V, plaintiff asserts intentional and negligent misrepresentations claims

based on the allegations that defendants “promised to pay Pathfinder a monthly and flight-

hour rate for a term of ten years as XTO’s helicopter support contractor” and that they

“promised to pay Pathfinder a flight-hour rate for back-up helicopter services.”34 Plaintiff

alleges that “[t]he promises made to Pathfinder were false because the [d]efendants did not,

in fact, perform any of those promises.”35

       The elements of an intentional misrepresentation claim are “(1) a false representation

of fact, (2) knowledge of the falsity of the representation, (3) intention to induce reliance,

(4) justifiable reliance, and (5) damages.” Jarvis v. Ensminger, 134 P.3d 353, 363 (Alaska



       34
            Complaint at 8, ¶¶ 42-43, Exhibit A, Notice of Removal, Docket No. 1.
       35
            Id. at ¶ 44.

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2006). Plaintiff’s intentional misrepresentation claim as currently pled is implausible.

Plaintiff has not alleged that defendants knew at the time they were negotiating a contract

with plaintiff that they were not going to go forward with the contract. It cannot be

inferred from the allegation that “the promises made to Pathfinder were false” that

defendants knew the promises were false when made. It does not necessarily follow that

because a statement turned out to be false, the person who made the statement knew it was

false at the time it was made. Because plaintiff has not stated a plausible intentional

misrepresentation claim, this claim is dismissed.

       The elements of a negligent misrepresentation claim are

               (1) the party accused of the misrepresentation must have made
              the statement in the course of his business, profession or
              employment, or in any other transaction in which he has a
              pecuniary interest, (2) the representation must supply false
              information, (3) there must be justifiable reliance on the false
              information supplied, and (4) the accused party must have
              failed to exercise reasonable care or competence in obtaining or
              communicating the information.

Reeves v. Alyeska Pipeline Service Co., 56 P.3d 660, 670-71 (Alaska 2002) (citations

omitted). Plaintiff has failed to state a plausible negligent misrepresentation claim.

              [A] cause of action for negligent misrepresentation is complete
              when the injured party has suffered a pecuniary loss as a result
              of the misrepresentation. To that extent, future occurrences
              can be related back to the time when the misrepresentation
              which resulted in the loss was made. However, to establish
              liability under this theory it is not enough to demonstrate that
              subsequent occurrences made an originally-accurate represen-


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              tation ultimately false. For a representation to be actionable, ...
              the representation must be false when made.

Bubbel v. Wien Air Alaska, Inc., 682 P.2d 374, 381 (Alaska 1984). While negligent

misrepresentation does not require “proof that the maker knew of the untrue character of

his or her representation[,]” it does require proof that the statement was false when made.

Id. Plaintiff has not alleged that the promises defendants made were false at the time they

were made. All plaintiff has alleged is that defendants’ statements were false, which is

insufficient to state a plausible negligent misrepresentation claim.          Thus, plaintiff’s

negligent misrepresentation claim is dismissed.

       Plaintiff requests leave to amend its misrepresentation claims by adding the

following allegation: “[d]efendants knew that they would not fulfill these promises,

making them false promises, at the time the promises were made.”36 This proposed

amendment is insufficient because it is a conclusory allegation that simply recites required

elements of plaintiff’s misrepresentation claims. But, it might be possible for plaintiff to

allege some factual support for its contention that defendants’ statements were false when

made and that defendants knew their statements were false when made. Plaintiff is given

leave to amend its misrepresentation claims.




       36
      Memorandum in Support of Cross-Motion for Permission to File Amended
Complaint at 22, Docket No. 13.

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       Count VI

       In Count VI, plaintiff asserts a violation of the Alaska Unfair Trade Practices Act

(UTPA) claim. “Two elements must be proved to establish a prima facie case of unfair or

deceptive acts or practices under the Alaska Act: (1) that the defendant is engaged in trade

or commerce; and (2) that in the conduct of trade or commerce, an unfair act or practice has

occurred.” State v. O'Neill Investigations, Inc., 609 P.2d 520, 534 (Alaska 1980). “An act

or practice is deceptive or unfair if it has the capacity or tendency to deceive.” Id. “An act

or practice need not be ‘deceptive’ to be ‘unfair.’” Id. at 535. Factors the court may

consider when determining whether an act or practice is unfair include

              “(1) whether the practice, without necessarily having been
              previously considered unlawful, offends public policy as it has
              been established by statutes, the common law, or otherwise
              whether, in other words, it is within at least the penumbra of
              some common-law, statutory, or other established concept of
              unfairness; (2) whether it is immoral, unethical, oppressive, or
              unscrupulous; [and] (3) whether it causes substantial injury to
              consumers (or competitors or other businessmen).”

Id. (quoting F. T. C. v. Sperry & Hutchinson Co., 405 U.S. 233, 244-45 n.5 (1972)). Alaska

law requires a plaintiff to demonstrate that the defendant did something more egregious

than breach a contract or assert the non-existence of a contract. Kenai Chrysler Center, Inc.

v. Denison, 167 P.3d 1240, 1256 (Alaska 2007); see also, Alaska Rent-A-Car, Inc. v. Cendant

Corp., Case No. 3:03–cv–00029–TMB, 2007 WL 2206784, at *22 (D. Alaska July 27, 2007)




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(“The fact that an act is a breach of a contractual obligation does not, ipso facto, render it

an unfair trade practice”).

       Plaintiff alleges that

                 [d]efendants engaged in unfair and deceptive practices,
                 including, but not limited to, the following: misrepresenting
                 their intent to contract with and pay Pathfinder for its services,
                 for representing that Pathfinder’s services ha[d] approval and
                 status that [they] did not have; by engaging in conduct creating
                 a likelihood of confusion or misunderstanding which misled,
                 deceived and damaged Pathfinder in connection with the sale
                 of goods and services, and by knowingly making false or
                 misleading statements concerning the need for parts, replace-
                 ment, or repair services.[37]

These allegations are insufficient to state a UTPA claim because all plaintiff has alleged is

that defendants breached the alleged contract. Because something more than a breach of

a contract is required for a UTPA claim, plaintiff has failed to state a plausible UTPA claim,

and this claim is dismissed.

       Plaintiff is given leave to amend its UTPA claim. But, plaintiff is again reminded

that it must allege factual support for any claim it is asserting. Plaintiff cannot wait until

after discovery has taken place to state plausible claims. See Iqbal, 556 U.S. at 678-79 (a

plaintiff cannot “unlock the doors of discovery ... armed with nothing more than

conclusions”); Twombly, 550 U.S. at 558 (citation omitted) (if the “allegations in a

complaint, however true, could not raise a claim of entitlement to relief, this basic


       37
            Complaint at 9, ¶ 43, Exhibit A, Notice of Removal, Docket No. 1.

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deficiency should ... be exposed at the point of minimum expenditure of time and money

by the parties and the Court”).

       Punitive Damages

       Defendants move to strike plaintiff’s prayer for punitive damages because all of

plaintiff’s tort claims are subject to dismissal. However, because plaintiff is being allowed

to amend some of its tort claims, plaintiff’s prayer for punitive damages will not be

stricken.

                                        Conclusion

       Defendants’ motion to dismiss certain claims is granted, but defendants’ motion to

strike plaintiff’s prayer for damages is denied.

       Plaintiff’s motion for leave to amend is granted in part and denied in part. The

motion is granted as to plaintiff’s breach of the implied covenant of good faith and fair

dealing claim against XTO, plaintiff’s misrepresentation claims against both defendants,

and plaintiffs’ UTPA claim against both defendants. The motion for leave to amend is

denied as to Counts I-IV against Griffith.

       Plaintiff’s amended complaint, should plaintiff elect to file one, shall be filed on or

before February 16, 2016.

       DATED at Anchorage, Alaska, this 1st day of January, 2016.

                                                    /s/ H. Russel Holland
                                                    United States District Judge


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